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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LEVI STRAUSS & CO.,
                                                      Case No. 18-cv-07459
                        Plaintiff,
                                                      Judge Charles R. Norgle
       v.
                                                      Magistrate Judge Maria Valdez
SHENZHEN BARFLIN INVESTMENT CO.,
LTD., et al.,

                        Defendants.


                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on February 7, 2019 [42], in

favor of Plaintiff Levi Strauss & Co. (“LS&Co.”) and against the Defendants Identified in

Schedule A in the amount of one million dollars ($1,000,000) per Defaulting Defendant for

willful use of counterfeit LEVI’S Trademarks in connection with the offer for sale and/or sale of

products through at least the Defendant Internet Stores, and LS&Co. acknowledges payment of

an agreed upon damages amount, costs, and interest and desires to release this judgment and

hereby fully and completely satisfy the same as to the following Defendant:

              Defendant Name                                         Line No.
                 JMSHOP                                                168

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.




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Dated this 8th day of August 2019.   Respectfully submitted,


                                     /s/RiKaleigh C. Johnson_______
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